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                                            CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                        Before the Honorable John F. Robbenhaar
                                        Preliminary Revocation/Detention Hearing
Case Number:                CR 19-4439 JCH                        UNITED STATES vs. Perez
Hearing Date:               8/1/2022                              Time In and Out:          10:53 a.m./11:00 a.m.
Courtroom Deputy:           K. Hernandez de Sepulveda             Courtroom:                Rio Grande
Defendant:                  Joseph Mathew Perez                   Defendant’s Counsel:      Joe M. Romero, Jr.
AUSA:                       Thomas Aliberti                       Pretrial/Probation:       Amy Gee
Interpreter:                N/A                                   Witness:
Initial Appearance
☐     Defendant received a copy of charging document
☐     Court advises defendant(s) of possible penalties and all constitutional rights
☐     Defendant
☐     Government moves to detain                                  ☐ Government does not recommend detention
☐     Set for                                                     on                               @
Preliminary/Show Cause/Identity
☒     Defendant waives Preliminary Revocation Hearing
☒     Court finds probable cause                                  ☐    Court does not find probable cause
Detention
☐     Defendant waives right to contest detention
      Defense counsel requests a 21-day continuance; government does not object; court addresses defendant, defendant
☒     responds, no objection; court grants 21-day continuance.
Custody Status
☒     Defendant detained pending hearing
☐     Conditions
Other
☐     Defendant waives personal presence at hearing/Court accepts Defendant’s waiver
      Pursuant to the Due Process Protections Act, Court confirms the United States obligation to produce all exculpatory
☐
      evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so.
☐     Matter referred to    for Final Revocation Hearing
☐
